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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )               CASE NO. 8:14CR357
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )               TENTATIVE FINDINGS
                                                )
RODOLFO ESQUIVEL,                               )
                                                )
               Defendant.                       )

       The Court has received the Presentence Investigation Report and Addendum (“PSR”).

The parties have not filed formal objections to the PSR. See Order on Sentencing Schedule,

¶ 6. (The Court takes note that in the Addendum to the PSR, the parties objected to

Paragraph Nos. 52, 57, and 60 indicating those paragraphs do not comply with the terms of

the Plea Agreement.) The Court advises the parties that these Tentative Findings are issued

with the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.      The parties’ informal objection will be heard at the sentencing hearing and the

Court intends to adopt the parties’ plea agreement;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing
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is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 19th day of May, 2015.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            Chief United States District Judge




                                              2
